Case 18-01171-JDP          Doc 131     Filed 07/22/19 Entered 07/22/19 17:01:07         Desc Main
                                      Document      Page 1 of 4




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 Jeffrey P. Kaufman, ISB No. 8022
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 Attorneys for Debtor

                           UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

  In re:                                            Case No. 18-01171-JDP

  VERNON K. SMITH, JR.,                             Chapter 11

                                     Debtor.

                    MOTION TO WITHDRAW AS DEBTOR'S ATTORNEY

           COMES NOW Debtor's counsel, the Law Office of D. Blair Clark, PC, by and through its

 associate attorney, Jeffrey P. Kaufman, and hereby moves the Court for the entry of an order

 allowing the Law Office of D. Blair Clark, PC to withdraw as attorney of record for the debtor, as

 provided in the proposed order attached hereto.

           This Motion is made and based on the Affidavit of Jeffrey P. Kaufman filed herewith and

 upon the records, papers and filed in the above entitled action.

           DATED this 22ND day of July, 2019.

                                                LAW OFFICE OF D. BLAIR CLARK, PC
                                                By: /s/ Jeffrey P. Kaufman
                                                        Jeffrey P. Kaufman, of the firm

 18-01171-TLM | In re Smith
 MOTION TO WITHDRAW AS DEBTOR'S ATTORNEY                                                   PAGE 1
Case 18-01171-JDP         Doc 131      Filed 07/22/19 Entered 07/22/19 17:01:07              Desc Main
                                      Document      Page 2 of 4




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of July, 2019, I filed the foregoing electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

        Office of the United States Trustee
        ustp.region18.bs.ecf@usdoj.gov

        Larren Keith Covert on behalf of Creditor Sharon Kay Bergmann
        larrenc@swaffordlaw.com

        Kimbell D Gourley on behalf of Creditor Jones Gledhill Fuhrman Gourley PA
        kgourley@idalaw.com, pulmer@idalaw.com;mingham@idalaw.com

        Noah G. Hillen, Randall A Peterman, & Alex P McLaughlin on behalf of Creditor Noah G.
        Hillen
        ngh@hillenlaw.com, dlr@hillenlaw.com, lm@hillenlaw.com, ellassets@ecf.inforuptcy.com,
        D14@ecfcbis.com, apm@givenspursley.com, jrt@givenspursley.com, ad@givenspursley.com,
        mh@givenspursley.com, rap@givenspursley.com, kad@givenspursley.com
        wandawhite@givenspursley.com

        Amber K. Kauffman on behalf of Creditor Idaho State Tax Commission
        amber.kauffman@tax.idaho.gov, Becky.Ihli@tax.idaho.gov

        Jeffrey A Strother on behalf of Creditor Joseph H. Smith
        jstrother@strotherlawidaho.com

        I further certify that on such date I served the foregoing on the following non CM/ECF
 Registered Participants in the manner indicated:

                     Via first class mail, postage prepaid addressed as follows:

                                        Vernon K. Smith, Jr.
                                         1900 W. Main St.
                                          Boise, ID 83703

                  Via certified mail, return receipt requested, addressed as follows:
                                                 None

                                                        By: /s/ Jeffrey P. Kaufman
                                                                Jeffrey P. Kaufman

 18-01171-TLM | In re Smith
 MOTION TO WITHDRAW AS DEBTOR'S ATTORNEY                                                        PAGE 2
Case 18-01171-JDP         Doc 131     Filed 07/22/19 Entered 07/22/19 17:01:07             Desc Main
                                     Document      Page 3 of 4




                          UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO




  PROPOSED
  In re:                                            Case No. 18-01171-JDP

  VERNON K. SMITH, JR.,                             Chapter 11

                                    Debtor.

      ORDER APPROVING MOTION TO WITHDRAW AS COUNSEL OF RECORD

           THIS MATTER having come before the Court by way of the Motion to Withdraw, filed

 by the Law Office of D. Blair Clark, PC, with notice of said motion and opportunity to objection

 having been made in accordance with applicable Federal Rules of Bankruptcy Procedure and

 Local Bankruptcy Rules; and the Court holding a hearing on the matter on July 29, 2019, and

 good cause appearing;

           IT IS HEREBY ORDERED that the law firm Law Office of D. Blair Clark, PC, hereby is

 permitted to withdraw as attorneys of record for the debtor and Debtor-in-Possession, VERNON

 K. SMITH, JR., pursuant to the provisions of LBR 9010.1(f).

           IT IS FURTHER ORDERED that Debtor and Debtor-in-Possession is to appear in person

 or appoint another attorney to appear, and to file a written notice with the court stating how the

 client will be represented within twenty-one (21) days from the date of this order. Debtor is

 advised that failure to appear in person or through newly appointed counsel within said

 twenty-one (21) day period shall be sufficient grounds for entry of default or dismissal of the
Case 18-01171-JDP        Doc 131     Filed 07/22/19 Entered 07/22/19 17:01:07           Desc Main
                                    Document      Page 4 of 4




 action without further notice. Further, any attorney whom Debtor-In-Possession appoints to

 represents Debtor-In-Possession shall file an application for employment pursuant to

 11 U.S.C. § 327.



  PROPOSED
        IT IS FURTHER ORDERED that no further proceedings that affect Debtor's rights will

 be held within the aforementioned twenty-one (21) days. //end of text//

 Submitted by Jeffrey P. Kaufman
